
Per Curiam.
—The plaintiff has failed to bring himself within the rule permitting a reargument. Hand v. Rogers, 16 Mise. Rep. 864; 38 N. Y. Supp. 2. The point urged now was not raised at the argument, and comes too late. Besides, it is not of sufficient importance to warrant the application. The motion to dismiss the complaint was made substantially upon one ground, viz. the insufficiency pf the evidence to support the cause of action, and, as it was but one motion, required but one ruling by the court; consequently but one exception was needed to review the error, if any, in denying the motion. The case is not within the rule laid down in Myers v. Rosenback, 14 Misc. Rep. 638 ; 36 N. Y. Supp. 7,—that one. exception to three different motions is insufficient to require a review of each separately. No ground is presented for an appeal to the appellate division. Lynch v. Sauer, 16 Misc. Rep. 362; 38 N. Y. Supp. 1. Motion denied, with $10 costs.
